                     Case 3:15-mj-00539-MAT Document 2 Filed 02/25/15 Page 1 of 5


AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                   E9 25

                                                       Western District of Texas

                 United States of America                           )
                           v.                                       )
               Marco Antonio YUDICO-Vega                            )     Case No.

                                                                                         \                               T
                                                                    )
                           Defendant(s)



                                                       CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     02/24/2015                 in the county of                 El Paso           in the

      Western          District of             Texas            , the defendant(s)   violated:

             Code Section                                                    Offense Description
 8 U.S.C. 1324(a)(1)(A)(iii)                    knowing and in reckless disregard of the fact that an alien has come to,
 and (a)(1)(B)(ii)                              entered, and remained in the United States in violation of law, conceals,
                                                harbors, and shields from detection, and attempts to conceal, harbor, and
                                                shield from detection, such alien in any place, including any building and any
                                                means of transportation for the purpose of commercial advantage and private
                                                financial gain.




          This criminal complaint is based on these facts:




              Continued on the attached sheet.



                                                                                                 Complainant's signature

                                                                                     David 0. Marroguin, U. S. Border Patrol
                                                                                               Printed name and title

 Sworn to before me and signed in my presence.


 Date:             02/25/2015
                                                                                                          's signature


 City and state:                          El Paso, Texas                              Miguel A. Torres, U.S. Magistrate Judge
                                                                                                Printed name and title
        Case 3:15-mj-00539-MAT Document 2 Filed 02/25/15 Page 2 of 5




                                         AFFIDAVIT



On February 24, 2015, HSI El Paso Special Agents assigned to BEST and CBP Office of Border
Patrol Disrupt Unit, were conducting surveillance at the Paso Del Norte Port of Entry (PDN) in
El Paso, Texas which is located in the Western District of Texas. At approximately 1200 hours,
agents observed the subject later as Marco Antonio YUDICO-Vega walking north on El Paso
street after being admitted into the United States. Agents noticed Marco Antonio YUDICO-
Vega was wearing a black jacket, blue jeans. red baseball cap, and caring a blue back pack.

Agents observed Marco Antonio YUDICO-Vega walk from PDN to a convenience store along
El Paso Street, where he proceeded to purchase what appeared to be soft drinks, held inside a
white grocery bag. Agents then observed Marco Antonio YUDICO-Vega walk to the Los
Paisanos Bus station located at 325 South Santa Fe Street in El Paso, TX. Agents witnessed
Marco Antonio YUDICO-Vega enter the bus station and approach the ticket booth counter,
where he made a purchase of what appeared to be a bus ticket. Afterwards, Agents observed
Marco Antonio YUDICO-Vega walk towards the Tornado bus station located at 307 South Santa
Fe Street in El Paso, TX. While inside the Tornado bus station, Agents observed Marco Antonio
YUDICO-Vega once again approach the ticket booth counter and purchase what appeared to be a
bus ticket.

After exiting the Tornado bus station, Agents observed Marco Antonio YUDICO-Vega walk to
the Sun Metro Downton Transfer Center Boarding located at 601 South Santa Fe Street. After a
short period at the aforementioned location, Agents observed Marco Antonio YUDICO-Vega
board a Sun Metro bus bearing route number 21. Agents followed Marco Antonio YUDICO-
Vega until he exited the bus near the Stagecoach Motel located at 4110 Alameda Avenue in El
Paso, Texas. This motel is notoriously known as a staging area for undocumented aliens. Agents
observed Marco Antonio YUDICO-Vega enter the lobby area of the Stagecoach Motel, carrying
 a white groceries bag. Shortly after, Agents observed Marco Antonio YUDICO-Vega exiting the
 Stagecoach Motel, this time without any groceries bag on hand. Agents observed Marco
Antonio YUDICO-Vega walk westbound on Alameda Street until he boarded another Sun Metro
 bus. Soon after, Agents boarded the Sun Metro bus, approached Marco Antonio YUDJCO-
Vega, and identified themselves as U.S. Border Patrol Agents. Agents proceeded to questioned
 Marco Antonio YUDICO-Vega as to his citizenship and he admitted to be a Legal Permanent
 Resident Alien. Agents then questioned Marco Antonio YUD1CO-Vega about the
 aforementioned activity at the Stagecoach Motel. Marco Antonio YUDICO-Vega stated to the
 Agents that he was there to deliver food and beverages to some friends staying in room 9 at the
 Stagecoach Motel. When asked about his friends names Marco Antonio YUDICO-Vega could
 not remember any names. At this time, Agents detained Marco Antonio YUDICO-Vega in order
 to further the investigation.
         Case 3:15-mj-00539-MAT Document 2 Filed 02/25/15 Page 3 of 5




Agents then proceeded to conduct a knock and talk on room #9 of the Stagecoach motel which
subsequently revealed two undocumented aliens from Mexico. At approximately 1430 hours,
Marco Antonio YUDICO-Vega and the two undocumented aliens found in the room were placed
under arrest and transported to the Homeland Security Investigations (HSI) Boeing Office for
further processing.


Once at the Boeing office, Marco Antonio YUDICO-Vega was read his Miranda Rights. Marco
Antonio YUDICO-Vega acknowledged that he understood his rights and was willing to talk to
the Agents without an attorney present.

Marco Antonio YUDICO-Vega stated the following during his interview:

Marco Antonio YUDICO-Vega stated that on today's date (02/24/20 15) he crossed into El Paso,
TX from Ciudad Juarez, Chihuahua to do a favor for his brother Fabian YUDICO-Vega. Marco
Antonio YUDICO-Vega identified his brother's phone number as 656-306-8933. He was asked
by his brother Fabian YUDICO-Vega in Ciudad Juarez, Chihuahua to purchase a bus ticket for
two individuals staying at the Stagecoach Motel in room number 9. He was also instructed by
his brother to drop off food to the same individuals as well as money in order to pay for another
night stay at the Stagecoach Motel in El Paso, TX. Marco Antonio YUDICO-Vega admitted that
he knew that the two individuals he delivered the food and the money to were in the United
States illegally and that he was going to be paid approximately $60.00 USD by his brother after
returning back to Ciudad Juarez, Chihuahua. Marco Antonio YUDICO-Vega further stated that
within a five year span, he has done this for his brother approximately 30 to 40 other occasions.
Marco Antonio Y1JDICO-Vega admitted to the Agents that he knows that his brother smuggles
undocumented aliens into the United States for money, but states he only assists him every now
and then as the care taker once the undocumented aliens have reached a hotel/motel in El Paso,
TX. Marco Antonio YUDICO-Vega stated that he was also asked by his brother to take a photo
of the two individuals staying in the hotel room, claiming that the purpose for the photographs
was in order to obtain fraud immigration documents for them. Marco Antonio YUDICO-Vega
also stated he delivered two sheets of papers, each one containing specific valid visa biographical
 information (Information on sheets were written in question and answer form).

Marco Antonio YUDICO-Vega also willingly and willfully provided a written statement
concerning todays' event.


The subject later identified as L.D.P-O., herein referred to as MAT-WIT #1, was advised of his
Miranda Rights to which he acknowledged his understanding by signing the form 1-2 14
accordingly. MAT-WIT #1 agreed to speak to the Agents without an attorney present.

MAT-WIT #1 provided the following statement:

MAT-WIT #1 stated he and MAT-WIT#2 crossed illegally into the United States on Saturday
(02/24/2015) and took a taxi cab to the Stagecoach Motel. MAT-WIT #1 stated that Marco
         Case 3:15-mj-00539-MAT Document 2 Filed 02/25/15 Page 4 of 5




Antonio YUDICO-Vega took them food and money to pay for the room, beginning Sunday until
today (02/24/2015). MAT-WIT #1 stated that Marco Antonio YUDICO-Vega also took a
picture of them with his own cell phone and told them that he took their picture in order to obtain
a passport or visa in order to further their entry into the United States. MAT-WIT #1 also stated
that on todays' date, he was given a sheet of paper with biographical information pertaining to
Roberto ECHANIZ-Mendoza. MAT-WIT #1 was told to memorize by Marco Antonio
YUDICO-Vega because the same information was going to be used when preparing the false
passport or visa. MAT-WIT #1 stated he used the services of a smuggler who he knows by the
name of Fabian, and provided his phone number as 656-306-8933.

MAT-WIT #1 also willfully and willingly provided a written statement.

Agents showed MAT-WIT# 1 a photographic lineup of 6 male individuals and MAT-WIT #1 was
able to identify Marco Antonio YUDICO-Vega's picture.

The subject later identified as A.P.-M., herein referred to as MAT-WIT #2, was advised of his
Miranda Rights to which he acknowledged his understanding by signing the form 1-2 14
accordingly. MAT-WIT #2 agreed to speak to the Agents without an attorney present.

MAT-WIT #2 stated the following during his interview:

MAT-WIT #2 stated that he arrived to Ciudad Juarez, Chihuahua last Wednesday after making
arrangements to cross into the United States illegally with a smuggler he knew as Fabian. MAT-
WIT #2 stayed in a stash house in Ciudad Juarez until Saturday evening, when he effectively
made his illegal entry into the United States. Once in the United States, MAT-WIT #2 was
instructed via-telephone by Fabian to get a taxi cab and asked to be taken to the Stagecoach
Motel in El Paso, TX. Once at the Motel, MAT-WIT #1 and #2 contacted Fabian and advised
him of the room number they had checked themselves into. MAT-WIT #2 stated that the
subject, later identified as Marco Antonio YUDICO-Vega, would deliver food and money to pay
for the hotel room every day for the past three days. MAT-WIT #2 stated that Marco Antonio
YUDICO-Vega also provided them with a cell phone, which they would use to converse back
and forth with Fabian and if need be, contact their family members. MAT-WiT #2 stated that
yesterday (02/23/2015), Marco Antonio YUDICO-Vega took them food and also took their
photograph using a cell phone. On todays' date (02/24/2015), MAT-WIT #2 was also given a
sheet a paper by Marco Antonio YUDICO-Vega containing biographical information bearing the
name Jose Eduardo ARCEO-Reyes. MAT-WIT #2 was instructed by Marco Antonio YUDICO-
Vega to read and memorize all the information on the sheet.

MAT-WIT #2 also willingly and willfully provided a written statement.

Agents showed MAT-WIT#2 a photographic lineup of 6 male individuals and MAT-WIT #2 was
able to identify Marco Antonio YUDICO-Vega's picture.


Disposition:
         Case 3:15-mj-00539-MAT Document 2 Filed 02/25/15 Page 5 of 5




Assistant United States Attorney Daphne Newaz was apprised of the situation and approved
prosecution on Marco Antonio YUDICO-Vega for 8 USC 1324 Conceal/Harbor For Profit.

Material Witnesses #1 and #2 were charged under Title 18 USC 3144, Material Witness.

I make this affidavit on the basis of my personal knowledge, as well as the basis of information
furnished to me by other law enforcement officers.
